Case 2:15-cv-04950-SJO-AJW Document 1 Filed 06/30/15 Page 1 of 18 Page ID #:1




  1   Kelly W. Cunningham, Esq., No. 186,229
      Daniel M. Cislo, Esq., No. 125,378
  2   CISLO & THOMAS LLP
      12100 Wilshire Blvd., Suite 1700
  3   Los Angeles, California 90025-7103
      Telephone: (310) 451-0647
  4   Telefax: (310) 394-4477
  5   Attorneys for Plaintiff
      Pinkette Clothing, Inc.
  6
  7
  8                        UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10
 11   PINKETTE CLOTHING, INC., a )           CASE NO.
      California corporation,          )
 12                                    )     COMPLAINT FOR DECLARATORY
                   Plaintiff,          )     JUDGMENT OF
 13                                    )
             vs.                       )     (1) NO TRADEMARK
 14                                    )         INFRINGEMENT, NO
                                       )         LIKELIHOOD OF CONFUSION,
 15   COSMETIC WARRIORS                )         AND NO FALSE ASSOCIATION;
      LIMITED, believed to be a United )
 16   Kingdom limited company doing )        (2) DEFENDANTS HAVE
      business as LUSH HANDMADE )                DEVELOPED NO TRADEMARK
 17   COSMETICS, and DOES 1-9,         )         RIGHTS FOR CLOTHING;
      inclusive,                       )
 18                                    )     (3) DEFENDANTS ARE BARRED BY
                   Defendants.         )         LACHES FROM ALLEGING A
 19                                    )         LIKELIHOOD OF CONFUSION;
                                       )
 20                                    )          AND
                                       )
 21                                    )     (4) DEFENDANTS’ FEDERAL
                                       )         TRADEMARK APPLICATION
 22                                    )         AND CANCELLATION
                                       )         PROCEEDING ARE IMPROPER;
 23                                    )
                                       )     DEMAND FOR JURY TRIAL
 24                                    )
 25
 26         For its Complaint, Plaintiff Pinkette Clothing, Inc. (“Pinkette” or “Plaintiff”),
 27   alleges and claims the following:
 28
                                                                                        Case 2:15-cv-04950-SJO-AJW Document 1 Filed 06/30/15 Page 2 of 18 Page ID #:2




                                                                                          1                                 I.       THE PARTIES
                                                                                          2
                                                                                          3         1.    Pinkette is a California corporation with a principal place of business
                                                                                          4   located in this judicial district at 4550 Alcoa Avenue, Vernon, California 90058.
                                                                                          5         2.    Upon information and belief, Defendant Cosmetic Warriors Limited, is
                                                                                          6   a United Kingdom limited company doing business as Lush Handmade Cosmetics
                                                                                          7   with a place of business located at 29 High Street, Poole, Dorset BH15 1AB,
                                                                                          8   United Kingdom (collectively with Does 1-9, “CWL”).
                                                                                          9         3.    The true names and capacities, whether individual, corporate or
                                                            Facsimile: (310) 394-4477




                                                                                         10   otherwise of Defendants Does 1-9 inclusive, are unknown to Plaintiff, who
                                                                                         11   therefore sues them by such fictitious names. Plaintiff will seek leave to amend this
CISLO & THOMAS LLP

                                          Los Angeles, CA 90025-7103




                                                                                         12
                                            12100 Wilshire Boulevard




                                                                                              complaint to allege their true names and capacities when they have been
            Attorneys at Law




                                                                                         13   ascertained. Plaintiff is informed and believes and thereon alleges that each of the
                                                  SUITE 1700




                                                                                         14   fictitiously named Defendants is responsible in some manner for the occurrences
                                                                                         15   herein alleged and that Plaintiff’s damages as herein alleged were proximately
                        Telephone: (310) 451-0647




                                                                                         16   caused by those Defendants. At all times herein mentioned, Defendants Does 1-9
                                                                                         17   inclusive were the agents, servants, employees or attorneys of their co-defendants,
                                                                                         18   and in doing the things hereinafter alleged were acting within the course and scope
                                                                                         19   of their authority as those agents, servants, employees or attorneys, and with the
                                                                                         20   permission and consent of their co-defendants.
                                                                                         21
                                                                                         22                         II.   JURISDICTION AND VENUE
                                                                                         23
                                                                                         24         4.    This Court has subject matter jurisdiction over this subject matter of
                                                                                         25   this Complaint pursuant to 28 U.S.C. §§ 2201, 1331, and 1367 in that this is an
                                                                                         26   action for a declaratory judgment involving rights arising from the federal Lanham
                                                                                         27   Act, 15 U.S.C. Sections 1051, et al.
                                                                                         28


                                                                                                                                        2
                                                                                        Case 2:15-cv-04950-SJO-AJW Document 1 Filed 06/30/15 Page 3 of 18 Page ID #:3




                                                                                          1          5.     This Court has personal jurisdiction over Defendants on the grounds
                                                                                          2   that Defendants actively direct their marketing, advertising, promotions, sales, and
                                                                                          3   services at California residents as their customers, including through their website,
                                                                                          4   www.lushusa.com, and through numerous retail stores located in this judicial
                                                                                          5   district.
                                                                                          6          6.     Venue is proper pursuant to 28, U.S.C. § 1391(b) as to the Defendants
                                                                                          7   because a substantial part of their acts or omissions giving rise to the claims herein
                                                                                          8   occurred in this judicial district.
                                                                                          9
                                                            Facsimile: (310) 394-4477




                                                                                         10                            III.   FACTUAL BACKGROUND
                                                                                         11
CISLO & THOMAS LLP

                                          Los Angeles, CA 90025-7103




                                                                                         12
                                            12100 Wilshire Boulevard




                                                                                                     A.     Pinkette and Its Trademark LUSH for Clothing
            Attorneys at Law




                                                                                         13
                                                  SUITE 1700




                                                                                         14          7.     Pinkette sells and has continuously sold clothing under the LUSH
                                                                                         15   trademark in commerce in the United States since at least July 2003. Over the
                        Telephone: (310) 451-0647




                                                                                         16   years, Pinkette has developed extensive goodwill and a highly acclaimed reputation
                                                                                         17   for trendsetting women’s apparel, creating stand out pieces that are versatile and
                                                                                         18   uncompromising in style with California flair.
                                                                                         19          8.     Pinkette sells its clothing through numerous boutiques as well as
                                                                                         20   through a number of larger retail stores throughout the country and North America
                                                                                         21   and, as a result, has had an undeniably strong nationwide presence as LUSH in
                                                                                         22   women’s clothing for essentially the entire twelve (12) years.
                                                                                         23          9.     Additionally, on May 11, 2009, Pinkette filed with the United States
                                                                                         24   Patent and Trademark Office (“USPTO”) for federal trademark registration of its
                                                                                         25   LUSH trademark for clothing.          The application affords Pinkette constructive
                                                                                         26   nationwide notice of its claim of ownership of the LUSH trademark for clothing.
                                                                                         27   The USPTO examined the LUSH mark, found it allowable for registration, and
                                                                                         28   published it for opposition on April 27, 2010. On July 13, 2010, following this


                                                                                                                                         3
                                                                                        Case 2:15-cv-04950-SJO-AJW Document 1 Filed 06/30/15 Page 4 of 18 Page ID #:4




                                                                                          1   examination process and receiving no opposition from anyone during the statutory
                                                                                          2   opposition period, the USPTO acknowledged Pinkette’s right to use the LUSH
                                                                                          3   trademark for clothing by granting it U.S. Trademark Registration No. 3,816,441.
                                                                                          4   Pinkette attaches hereto as Exhibit 1 a true and correct copy of this trademark
                                                                                          5   registration.
                                                                                          6
                                                                                          7         B.        Pinkette’s Due Diligence Before and After Adopting LUSH
                                                                                          8
                                                                                          9         10.       Before beginning to use LUSH for clothing, Pinkette informally
                                                            Facsimile: (310) 394-4477




                                                                                         10   searched the industry, the major industry sources, and the Internet for any uses of
                                                                                         11   LUSH for clothing in the United States and North America and found nothing.
CISLO & THOMAS LLP

                                          Los Angeles, CA 90025-7103




                                                                                         12
                                            12100 Wilshire Boulevard




                                                                                              Only later did Pinkette encounter the entry into U.S. marketplace of LUSH
            Attorneys at Law




                                                                                         13   HANDMADE COSMETICS for cosmetics and perfumes. Pinkette began finding
                                                  SUITE 1700




                                                                                         14   retail stores opening in various locations with signage bearing the LUSH trade
                                                                                         15   name accompanied by signage bearing the phrase FRESH HANDMADE
                        Telephone: (310) 451-0647




                                                                                         16   COSMETICS and selling LUSH HANDMADE COSMETICS cosmetics and
                                                                                         17   perfumes.
                                                                                         18         11.       Pinkette never uncovered any clothing items for sale in these retail
                                                                                         19   stores. Indeed, upon information and belief, to Pinkette’s knowledge, CWL had
                                                                                         20   never and has never sold any clothing items or clothing-related items (other than
                                                                                         21   perhaps uniforms purportedly sold only to its own store employees), let alone any
                                                                                         22   clothing items displaying the word LUSH -- let alone any clothing items having any
                                                                                         23   clothing tag or label that displayed the word LUSH as a trademark.
                                                                                         24         12.       Indeed, it appears that CWL in 1996 applied for a U.S. trademark
                                                                                         25   registration for LUSH for cosmetics and other related goods. In the application,
                                                                                         26   CWL did not list any clothing or clothing-related goods. Also, while CWL has
                                                                                         27   filed or obtained other U.S. trademark applications for LUSH over the years, the
                                                                                         28   applications never listed any clothing or clothing-related goods (before CWL


                                                                                                                                         4
                                                                                        Case 2:15-cv-04950-SJO-AJW Document 1 Filed 06/30/15 Page 5 of 18 Page ID #:5




                                                                                          1   engaged in the present dispute, that is). Pinkette attaches hereto as Exhibit 2 a true
                                                                                          2   and correct list of CWL U.S. trademark applications and registrations, known to
                                                                                          3   Pinkette, showing that CWL filed a U.S. trademark application for LUSH for
                                                                                          4   clothing only very recently -- after CWL engaged in the present dispute.
                                                                                          5
                                                                                          6         C.     Pinkette’s Canadian Application for LUSH for Clothing
                                                                                          7
                                                                                          8         13.    In or about 2013, Pinkette decided it should register its LUSH
                                                                                          9   trademark in Canada. It had been selling its LUSH clothing in Canada since 2003,
                                                            Facsimile: (310) 394-4477




                                                                                         10   and its sales in Canada had grown considerably throughout the following years.
                                                                                         11   Pinkette learned, however, that in Canada, unlike in the U.S. where CWL had never
CISLO & THOMAS LLP

                                          Los Angeles, CA 90025-7103




                                                                                         12
                                            12100 Wilshire Boulevard




                                                                                              attempted to register LUSH for clothing, CWL has a Canadian trademark
            Attorneys at Law




                                                                                         13   registration for LUSH for clothing.
                                                  SUITE 1700




                                                                                         14         14.    Pinkette therefore commissioned a formal, independent trademark in-
                                                                                         15   use investigation to determine whether CWL was indeed selling any clothing items
                        Telephone: (310) 451-0647




                                                                                         16   in Canada because, if CWL is not selling clothing in Canada under the LUSH
                                                                                         17   trademark, the Canadian Trademark Office should cancel CWL’s registration for
                                                                                         18   clothing. The investigation reported that, in addition to there being no mention on
                                                                                         19   any CWL website of any clothing articles for sale, personnel at CWL had told the
                                                                                         20   independent investigator that T-shirts displaying CWL’s LUSH HANDMADE
                                                                                         21   COSMETICS were for the store employees’ uniforms only and that CWL does not
                                                                                         22   sell any apparel with any LUSH trademark on them.
                                                                                         23         15.    The investigation, therefore, concluded that, apart from perhaps some
                                                                                         24   LUSH HANDMADE COSMETICS uniforms that it claims it sells internally to its
                                                                                         25   own store employees, CWL does not sell any clothing bearing any trademark that
                                                                                         26   contains the word LUSH.
                                                                                         27         16.    As a result, on September 2, 2014, Pinkette filed in Canada a
                                                                                         28   trademark application for LUSH for clothing and a petition requesting that the


                                                                                                                                        5
                                                                                        Case 2:15-cv-04950-SJO-AJW Document 1 Filed 06/30/15 Page 6 of 18 Page ID #:6




                                                                                          1   Canadian Trademark Office investigate and cancel CWL’s registration for LUSH
                                                                                          2   for clothing on the grounds that CWL does not sell clothing in Canada under the
                                                                                          3   LUSH trademark.
                                                                                          4
                                                                                          5         D.     CWL’s Response to Pinkette’s Challenge in Canada
                                                                                          6
                                                                                          7         17.    In December 2014, following Pinkette’s challenge in Canada, CWL
                                                                                          8   filed a federal trademark application in the United States for LUSH for clothing,
                                                                                          9   later given Serial No. 86/475,096. Pinkette attaches hereto as Exhibit 3 a true and
                                                            Facsimile: (310) 394-4477




                                                                                         10   correct copy of CWL’s U.S. trademark application for LUSH for clothing. For its
                                                                                         11   formal response to Pinkette’s challenge in Canada, CWL submitted to the Canadian
CISLO & THOMAS LLP

                                          Los Angeles, CA 90025-7103




                                                                                         12
                                            12100 Wilshire Boulevard




                                                                                              Trademark Office evidence of CWL’s supposed sales of clothing in Canada under
            Attorneys at Law




                                                                                         13   the LUSH trademark. Pinkette attaches hereto as Exhibit 4 a true and correct copy
                                                  SUITE 1700




                                                                                         14   of CWL’s responsive submission in Canada. In the submission, CWL alleges and
                                                                                         15   admits that the only clothing CWL purportedly sold in Canada and the U.S. were t-
                        Telephone: (310) 451-0647




                                                                                         16   shirts, tank tops, sweatshirts, and aprons it sold internally to its own retail store
                                                                                         17   employees as their uniforms. (Id. at ¶ 11).
                                                                                         18         18.    Upon information and belief, the uniforms were/are not sold to any of
                                                                                         19   the retail stores’ customers, nor were they intended for resale to any of the retail
                                                                                         20   stores’ customers.
                                                                                         21         19.    As part of CWL’s has recently filed federal trademark application for
                                                                                         22   LUSH for clothing, CWL submitted a declaration, signed on December 9, 2014 by
                                                                                         23   its attorney of record, John A. Clifford, Esq., stating under penalty of 18 U.S.C. §
                                                                                         24   1001 that it is “the owner of the trademark[] sought to be registered; the applicant []
                                                                                         25   is using the mark in commerce on or in connection with the goods[] in the
                                                                                         26   application[; and] the specimen(s) shows the mark as used on or in connection with
                                                                                         27   the goods[] of the application.”
                                                                                         28


                                                                                                                                        6
                                                                                        Case 2:15-cv-04950-SJO-AJW Document 1 Filed 06/30/15 Page 7 of 18 Page ID #:7




                                                                                          1         20.    On March 23, 2015, the USPTO issued an office action in connection
                                                                                          2   with CWL’s trademark application for LUSH for clothing refusing to register the
                                                                                          3   mark, finding that it would create a likelihood of confusion with Pinkette’s
                                                                                          4   registration for LUSH for clothing. Pinkette attaches hereto as Exhibit 5 a true and
                                                                                          5   correct copy of this office action. In response, on June 10, 2015, CWL filed a
                                                                                          6   petition to cancel Pinkette’s registration and, shortly thereafter, a request to suspend
                                                                                          7   examination of CWL’s trademark application until CWL’s petition to cancel is
                                                                                          8   decided or otherwise resolved. Pinkette attaches hereto as Exhibit 6 a true and
                                                                                          9   correct copy of CWL’s petition to cancel Pinkette’s U.S. trademark registration for
                                                            Facsimile: (310) 394-4477




                                                                                         10   LUSH for clothing.
                                                                                         11         21.    In its petition to cancel, CWL admits that it primarily has sold its
CISLO & THOMAS LLP

                                          Los Angeles, CA 90025-7103




                                                                                         12
                                            12100 Wilshire Boulevard




                                                                                              purported LUSH clothing “to employees for use while at work” and that there are
            Attorneys at Law




                                                                                         13   no rules “in place” that limit the employees’ “use of the clothing to work hours or
                                                  SUITE 1700




                                                                                         14   work locations.” (Id. at ¶ 4). CWL also admits that its only other clothing evidence
                                                                                         15   is the gift wrapping it sells to wrap its cosmetics in, which it only recently began
                        Telephone: (310) 451-0647




                                                                                         16   referring to as being reusable as scarves -- only after CWL had engaged in the
                                                                                         17   present dispute.
                                                                                         18         22.    Additionally, in both CWL’s evidence submission in Canada and its
                                                                                         19   petition to cancel Pinkette’s U.S. trademark registration, CWL broadly claims to
                                                                                         20   have sold LUSH clothing before 2003, but never presented any evidence of this.
                                                                                         21   Pinkette therefore additionally contends that Pinkette’s trademark use of LUSH for
                                                                                         22   clothing in the U.S. (and Canada as well) is senior to any supposed trademark use
                                                                                         23   of LUSH for clothing by CWL.
                                                                                         24         23.    Lastly, the scant evidence Pinkette has seen of CWL’s supposed sales
                                                                                         25   of these uniforms demonstrates that such sales were so small as to be token or, if
                                                                                         26   not token, “highly limited” in nature. That is, the evidence CWL submitted to the
                                                                                         27   Canadian Trademark Office revealed that CWL’s alleged sales of t-shirts and tank
                                                                                         28   tops averaged no more than roughly $255 per month -- for the entire United States.


                                                                                                                                         7
                                                                                        Case 2:15-cv-04950-SJO-AJW Document 1 Filed 06/30/15 Page 8 of 18 Page ID #:8




                                                                                          1   (See, Exhibit 4, at ¶¶ 17 and 19 adding up to $4600 for the 18 months of voluntary
                                                                                          2   reporting, and ¶ 22, in which CWL attested that these figures are representative of
                                                                                          3   its sales stretching back to September 2011).
                                                                                          4         24.    Despite the foregoing reasons to conclude that CWL has not developed
                                                                                          5   any exclusive trademark rights in LUSH for clothing, that CWL’s uses of the term
                                                                                          6   LUSH are insufficient to create any likelihood of confusion, and that there is no
                                                                                          7   sufficient evidence to suggest that CWL is even the senior trademark user of LUSH
                                                                                          8   for clothing, CWL incorrectly alleges in its petition to cancel not merely that
                                                                                          9   Pinkette’s federal registration harms CWL but also that Pinkette’s commercial use
                                                            Facsimile: (310) 394-4477




                                                                                         10   infringes and creates a false association with CWL’s exclusive trademark rights.
                                                                                         11   Such allegations, despite being entirely wrong, should be adjudicated and resolved
CISLO & THOMAS LLP

                                          Los Angeles, CA 90025-7103




                                                                                         12
                                            12100 Wilshire Boulevard




                                                                                              in an Article III District Court, not the Trademark Trial and Appeal Board.
            Attorneys at Law




                                                                                         13         25.    These actions and opposing positions concerning the rights to the
                                                  SUITE 1700




                                                                                         14   LUSH trademark for clothing and to any federal trademark registration therefor
                                                                                         15   give rise to the following claims for relief.
                        Telephone: (310) 451-0647




                                                                                         16
                                                                                         17                           IV.   FIRST CLAIM FOR RELIEF
                                                                                         18                 Declaratory Judgment that CWL Has Not Developed
                                                                                         19                     Any Exclusive Trademark Rights for Clothing
                                                                                         20
                                                                                         21         26.    Pinkette hereby repeats and incorporates herein the allegations set
                                                                                         22   forth in paragraphs 1 through 25 above.
                                                                                         23         27.    CWL contends that its LUSH HANDMADE COSMETICS design on
                                                                                         24   its employee uniforms entitles CWL to exclusive rights in the term LUSH as a
                                                                                         25   trademark for clothing.
                                                                                         26         28.    Pinkette contends, to the contrary, that CWL’s alleged use of LUSH or
                                                                                         27   LUSH HANDMADE COSMETICS, including that which CWL itself has alleged,
                                                                                         28   is legally insufficient to entitle CWL to trademark rights in the term LUSH or the


                                                                                                                                          8
                                                                                        Case 2:15-cv-04950-SJO-AJW Document 1 Filed 06/30/15 Page 9 of 18 Page ID #:9




                                                                                          1   phrase LUSH HANDMADE COSMETICS for clothing. Pinkette contends instead
                                                                                          2   that CWL’s retail employee uniforms constitute, at most, point-of-sale
                                                                                          3   advertisements, much like signage, for its handmade cosmetics and perfumes, and
                                                                                          4   not trademark use for clothing or any clothing-related goods.
                                                                                          5         29.       That is, CWL’s employee uniforms are merely “items incidental to
                                                                                          6   conducting” CWL’s actual business. CWL’s actual business is marketing and
                                                                                          7   selling cosmetics, perfumes, and the like, and as such, this use on employee
                                                                                          8   uniforms is not sufficient to establish exclusive trademark rights in the term LUSH
                                                                                          9   for clothing -- any more than CWL’s signage can establish trademark rights in
                                                            Facsimile: (310) 394-4477




                                                                                         10   LUSH for wood siding.
                                                                                         11         30.       Accordingly, there exists an Article III case and controversy between
CISLO & THOMAS LLP

                                          Los Angeles, CA 90025-7103




                                                                                         12
                                            12100 Wilshire Boulevard




                                                                                              CWL and Pinkette concerning whether CWL’s uniforms with the mark “LUSH”
            Attorneys at Law




                                                                                         13   qualify as trademark use sufficient for CWL to establish trademark rights in LUSH
                                                  SUITE 1700




                                                                                         14   for clothing.
                                                                                         15         31.       Pinkette is being harmed, and irreparably so, by CWL’s contrary
                        Telephone: (310) 451-0647




                                                                                         16   positions and will continue to be so harmed unless and until such CWL’s actions
                                                                                         17   are enjoined by judgment of this Court. These harms include CWL’s actions of
                                                                                         18   recently filing a competing and mutually exclusive federal trademark application
                                                                                         19   for LUSH for clothing stating that it is “the owner of the trademark[] sought to be
                                                                                         20   registered; the applicant [] is using the mark in commerce on or in connection with
                                                                                         21   the goods[] in the application[; and] the specimen(s) shows the mark as used on or
                                                                                         22   in connection with the goods[] of the application.”
                                                                                         23         32.       Moreover, these harms also include CWL’s recently filed petition to
                                                                                         24   cancel Pinkette’s federal trademark registration, in which CWL alleges it is the
                                                                                         25   rightful owner of LUSH for clothing. These actions have drawn a dark cloud of
                                                                                         26   uncertainty over Pinkette’s long-held rights to the LUSH trademark in the United
                                                                                         27   States. Pinkette’s trademark rights now appear to the purchasing public and to
                                                                                         28   Pinkette’s many retail store accounts as being challenged, causing these retail stores


                                                                                                                                         9
                                                                           Case 2:15-cv-04950-SJO-AJW Document 1 Filed 06/30/15 Page 10 of 18 Page ID #:10




                                                                                         1   to hesitate or question Pinkette’s rights, question whether they might be dragged
                                                                                         2   into a trademark infringement action, and question whether they might have to
                                                                                         3   remove inventory from shelves or lose a valued and sought-after brand for their
                                                                                         4   customers.
                                                                                         5         33.    Pinkette therefore is entitled to a judgment from this Honorable Court
                                                                                         6   declaring that CWL’s use of the term LUSH on any clothing items is insufficient to
                                                                                         7   establish trademark rights for CWL in the term LUSH for clothing.          Such a
                                                                                         8   determination and declaration is necessary and appropriate so that the parties can
                                                                                         9   ascertain their respective rights and duties under law and equity regarding the
                                                            Facsimile: (310) 394-4477




                                                                                        10   LUSH mark in the class of clothing.
                                                                                        11
CISLO & THOMAS LLP

                                          Los Angeles, CA 90025-7103




                                                                                        12
                                            12100 Wilshire Boulevard




                                                                                                                  V.    SECOND CLAIM FOR RELIEF
            Attorneys at Law




                                                                                        13                Declaratory Judgment of No Likelihood of Confusion,
                                                  SUITE 1700




                                                                                        14                No False Association, and No Trademark Infringement
                                                                                        15
                        Telephone: (310) 451-0647




                                                                                        16         34.    Pinkette hereby repeats and incorporates herein the allegations set
                                                                                        17   forth in paragraphs 1 through 33 above.
                                                                                        18         35.    Through CWL’s statements to Pinkette and to the USPTO, CWL
                                                                                        19   contends that there is a likelihood of confusion and false association among the
                                                                                        20   relevant public as a result of the coexistence of Pinkette’s use of LUSH as its
                                                                                        21   trademark for clothing and, either, (1) CWL’s sales of its store uniforms that say
                                                                                        22   LUSH HANDMADE COSMETICS to CWL’s own store employees; (2) CWL’s
                                                                                        23   selection of gift wrapping options used to wrap purchased cosmetics and perfumes
                                                                                        24   in (which CWL now, after engaging in the present dispute, market as being reusable
                                                                                        25   as scarves); and/or (3) CWL’s sales of LUSH cosmetics, perfumes, and related
                                                                                        26   goods.
                                                                                        27         36.    Pinkette contends the opposite. Pinkette contends that there is no
                                                                                        28   likelihood of confusion and no false association resulting from the coexistence of


                                                                                                                                       10
                                                                           Case 2:15-cv-04950-SJO-AJW Document 1 Filed 06/30/15 Page 11 of 18 Page ID #:11




                                                                                         1   Pinkette’s use of LUSH as its trademark for clothing and (1) CWL’s sales of its
                                                                                         2   store uniforms that display the LUSH HANDMADE COSMETICS logo; (2)
                                                                                         3   CWL’s selection of gift wrapping options; or (3) CWL’s sales of LUSH cosmetics,
                                                                                         4   perfumes, and related goods.
                                                                                         5         37.    CWL has not developed exclusive trademark rights in the term LUSH
                                                                                         6   for clothing by this alleged use of its cosmetics and perfumes logo, LUSH
                                                                                         7   HANDMADE COSMETICS, on its retail store employee uniforms.                       Even
                                                                                         8   assuming for argument’s sake that CWL’s uniforms sales in the United State
                                                                                         9   predate Pinkette’s trademark use and that CWL’s uniforms sales in the United
                                                            Facsimile: (310) 394-4477




                                                                                        10   States were sufficient and sufficiently continuous to maintain trademark rights
                                                                                        11   throughout this time, CWL concedes that its alleged sales of its uniforms are
CISLO & THOMAS LLP

                                          Los Angeles, CA 90025-7103




                                                                                        12
                                            12100 Wilshire Boulevard




                                                                                             limited to its own store employees. These are entirely internal sales -- or possibly
            Attorneys at Law




                                                                                        13   no real sales at all -- and the uniforms function as point of sale advertisements and
                                                  SUITE 1700




                                                                                        14   no more, like numerous other pieces of signage typically inside such retail stores.
                                                                                        15   CWL also places its LUSH HANDMADE COSMETICS on its store windows and
                        Telephone: (310) 451-0647




                                                                                        16   signage, but this does not entitle it to exclusive trademark rights in LUSH for sheet
                                                                                        17   glass or sign boards.
                                                                                        18         38.    As for CWL’s gift wrapping, Pinkette is not aware of any reference to
                                                                                        19   “scarves” until very recently, here in early 2015, which is after CWL engaged in
                                                                                        20   this dispute. Earlier this year, CWL began saying in its marketing that its gift
                                                                                        21   wrapping can be reused as scarves, but this only supports Pinkette’s position that
                                                                                        22   CWL’s uniforms are insufficient and that CWL had likewise felt this all along --
                                                                                        23   until Pinkette challenged CWL’s Canadian trademark registration for LUSH for
                                                                                        24   clothing. Upon information and belief, CWL’s gift wraps were never marketed as
                                                                                        25   being reusable as scarves until after CWL engaged in the present dispute. This new
                                                                                        26   marketing is too late to change the trademark rights involved in this dispute.
                                                                                        27         39.    This new marketing is also too little. Most products, packaging, and
                                                                                        28   even wrapping are reusable.      Reuse is encouraged by all sorts of companies,


                                                                                                                                       11
                                                                           Case 2:15-cv-04950-SJO-AJW Document 1 Filed 06/30/15 Page 12 of 18 Page ID #:12




                                                                                         1   organizations, and governments. And, once an article is reusable, it is probably
                                                                                         2   reusable as makeshift clothing of one type or another. This is not sufficient to give
                                                                                         3   rise to exclusive trademark rights for CWL in the term LUSH for clothing.
                                                                                         4         40.    As for CWL’s sales of cosmetics, perfumes, or related goods under
                                                                                         5   LUSH HANDMADE COSMETICS or any other trademark containing the term
                                                                                         6   LUSH, Pinkette contends that there is no likelihood of confusion and no false
                                                                                         7   association. In fact, CWL’s failure to uncover any instances of confusion or to
                                                                                         8   raise any likelihood of confusion allegations for over a decade of coexistence in
                                                                                         9   their respective fields of goods (clothing versus cosmetics and perfumes)
                                                            Facsimile: (310) 394-4477




                                                                                        10   demonstrates that there is no likelihood of confusion and no false association.
                                                                                        11         41.    Moreover, the fact that CWL has failed to challenge Pinkette’s use of
CISLO & THOMAS LLP

                                          Los Angeles, CA 90025-7103




                                                                                        12
                                            12100 Wilshire Boulevard




                                                                                             LUSH for clothing, despite the apparent coexistence of Pinkette’s use and CWL’s
            Attorneys at Law




                                                                                        13   use since 2003, reveals that CWL itself never did and does not now believe there
                                                  SUITE 1700




                                                                                        14   really is any likelihood of confusion or false association between the two marks,
                                                                                        15   given their respective uses.
                        Telephone: (310) 451-0647




                                                                                        16         42.    Furthermore, the miniscule and limited sales that CWL has alleged
                                                                                        17   ($4600 for one 18-month stretch and that this is “representative of” its sales back to
                                                                                        18   September 2011) are insufficient to create any significant likelihood of confusion.
                                                                                        19         43.    Accordingly, there exists an Article III judiciable case and controversy
                                                                                        20   between CWL and Pinkette concerning whether there is any likelihood of confusion
                                                                                        21   or false association between Pinkette’s LUSH trademark for clothing and CWL’s
                                                                                        22   use of LUSH on its employees’ uniforms, gift wrapping, or cosmetics or perfume
                                                                                        23   goods, or any trademark infringement by Pinkette.
                                                                                        24         44.    The harms to Pinkette from CWL’s actions complained of above apply
                                                                                        25   equally here.
                                                                                        26
                                                                                        27
                                                                                        28


                                                                                                                                      12
                                                                           Case 2:15-cv-04950-SJO-AJW Document 1 Filed 06/30/15 Page 13 of 18 Page ID #:13




                                                                                         1                          VI.    THIRD CLAIM FOR RELIEF
                                                                                         2        Declaratory Judgment that CWL is Barred by Laches from Alleging
                                                                                         3            Likelihood of Confusion or False Association Against Pinkette
                                                                                         4
                                                                                         5         45.    Pinkette hereby repeats and incorporates herein the allegations set
                                                                                         6   forth in paragraphs 1 through 44 above.
                                                                                         7         46.    In CWL’s petition to cancel Pinkette’s federal trademark registration,
                                                                                         8   CWL alleged -- for the first time -- that the concurrent use of Pinkette’s federally
                                                                                         9   registered LUSH trademark for clothing and CWL’s purported use on clothing
                                                            Facsimile: (310) 394-4477




                                                                                        10   creates a likelihood of confusion.
                                                                                        11         47.    Pinkette, by contrast, contends that Pinkette has been publicly and
CISLO & THOMAS LLP

                                          Los Angeles, CA 90025-7103




                                                                                        12
                                            12100 Wilshire Boulevard




                                                                                             commercially using LUSH for clothing since at least July 2003 and that CWL is
            Attorneys at Law




                                                                                        13   barred at this late date by laches from raising a claim of likelihood of confusion
                                                  SUITE 1700




                                                                                        14   between CWL’s employee uniforms that say LUSH HANDMADE COSMETICS
                                                                                        15   (and CWL’s gift wrap, which CWL only now markets as being reusable as scarves)
                        Telephone: (310) 451-0647




                                                                                        16   and Pinkette’s use of LUSH as its trademark for clothing.
                                                                                        17         48.    Pinkette contends that CWL’s choice not to raise any likelihood of
                                                                                        18   confusion allegations or allegations of false association for well over a decade of
                                                                                        19   coexistence in their respective fields of goods bars it under the doctrine of laches
                                                                                        20   from asserting at this late date that there is likelihood of confusion or association.
                                                                                        21         49.    Pinkette contends that CWL should be barred by laches for choosing
                                                                                        22   not to assert its purported rights, if any, year after year for well over a decade while
                                                                                        23   Pinkette has expended considerable time, effort, investment, and resources in
                                                                                        24   promoting Pinkette’s business and LUSH trademark.
                                                                                        25         50.    Upon information and belief, CWL has been aware and on notice of
                                                                                        26   Pinkette’s LUSH brand clothing for many years since Pinkette was being
                                                                                        27   prominently advertised and sold in large quantities in stores all throughout the U.S.
                                                                                        28   starting in 2003. In fact, the USPTO published Pinkette’s trademark application


                                                                                                                                        13
                                                                           Case 2:15-cv-04950-SJO-AJW Document 1 Filed 06/30/15 Page 14 of 18 Page ID #:14




                                                                                         1   when Pinkette filed it back on May 11, 2009, and published it for opposition on
                                                                                         2   April 27, 2010 -- which was over five years ago. Trademark owners are obliged to
                                                                                         3   monitor and police their trademark rights, including when applications that they
                                                                                         4   may find objectionable appear published by the USPTO for a period of time set by
                                                                                         5   federal statute for the express purpose of others coming forward to prevent
                                                                                         6   registration.
                                                                                         7         51.       CWL never did this. Upon information and belief, it watched and
                                                                                         8   allowed Pinkette’s business, marketing, and sales of LUSH clothing to grow greatly
                                                                                         9   on a nationwide stage, and it watched and allowed Pinkette’s application to pass the
                                                            Facsimile: (310) 394-4477




                                                                                        10   statutory opposition period and to register.
                                                                                        11         52.       Accordingly, there exists an Article II actual case and controversy
CISLO & THOMAS LLP

                                          Los Angeles, CA 90025-7103




                                                                                        12
                                            12100 Wilshire Boulevard




                                                                                             between CWL and Pinkette because procedural fairness dictates that CWL should
            Attorneys at Law




                                                                                        13   be barred from alleging likelihood of confusion against Pinkette due to the
                                                  SUITE 1700




                                                                                        14   inordinate delay and failure to timely assert its alleged rights.
                                                                                        15         53.       The harms to Pinkette from CWL’s actions complained of above apply
                        Telephone: (310) 451-0647




                                                                                        16   equally here.
                                                                                        17
                                                                                        18                          VII. FOURTH CLAIM FOR RELIEF
                                                                                        19                            Declaratory Judgment That CWL’s
                                                                                        20         Trademark Application and Cancellation Proceeding Are Improper
                                                                                        21
                                                                                        22         54.       Pinkette hereby repeats and incorporates herein the allegations set
                                                                                        23   forth in paragraphs 1 through 53 above.
                                                                                        24         55.       In CWL’s recently filed federal trademark application for LUSH for
                                                                                        25   clothing, CWL attested through a declaration under the penalties listed in 18 U.S.C.
                                                                                        26   § 1001 that it is the owner of the trademark sought to be registered; it is using the
                                                                                        27   mark in commerce on or in connection with the goods in the application; and the
                                                                                        28   specimens show the mark as used on the goods listed in the application.


                                                                                                                                        14
                                                                           Case 2:15-cv-04950-SJO-AJW Document 1 Filed 06/30/15 Page 15 of 18 Page ID #:15




                                                                                         1         56.    In CWL’s petition to cancel Pinkette’s federal trademark registration,
                                                                                         2   CWL alleged -- for the first time -- that the concurrent use of Pinkette’s federally
                                                                                         3   registered LUSH trademark for clothing and CWL’s purported use on clothing
                                                                                         4   creates a likelihood of confusion.
                                                                                         5         57.    Pinkette, by contrast, contends that Pinkette is the sole and senior user
                                                                                         6   of the LUSH trademark for clothing in several countries including, for purposes of
                                                                                         7   this complaint, the United States. Pinkette contends that it is the only entity entitled
                                                                                         8   to a federal trademark registration in the United States for LUSH for clothing.
                                                                                         9         58.    None of CWL’s uses known to Pinkette, including those CWL itself
                                                            Facsimile: (310) 394-4477




                                                                                        10   has alleged, does not entitle and has never entitled CWL to any trademark rights in
                                                                                        11   any LUSH mark for clothing.
CISLO & THOMAS LLP

                                          Los Angeles, CA 90025-7103




                                                                                        12
                                            12100 Wilshire Boulevard




                                                                                                   59.    Pinkette contends, therefore, that the declaration CWL submitted by
            Attorneys at Law




                                                                                        13   way of its trademark attorney, Mr. Clifford, is not correct, whether knowingly or
                                                  SUITE 1700




                                                                                        14   not; that no trademark registration can issue therefrom; and that the application
                                                                                        15   itself must be withdrawn.
                        Telephone: (310) 451-0647




                                                                                        16         60.    Pinkette contends that CWL’s petition to cancel is likewise improper
                                                                                        17   and must be withdrawn; that it is inconsistent with CWL’s failure to raise any
                                                                                        18   likelihood of confusion allegations for well over a decade of coexistence in their
                                                                                        19   respective fields of goods (clothing versus cosmetics and perfumes).
                                                                                        20         61.    Accordingly, Pinkette contends that CWL’s federal trademark
                                                                                        21   application for LUSH for clothing is improper, that the declaration submitted with
                                                                                        22   CWL’s application is improper; and that CWL’s petition to cancel is improper.
                                                                                        23         62.    Accordingly, there exists an Article II actual case and controversy
                                                                                        24   between CWL and Pinkette as to whether CWL’s trademark application and
                                                                                        25   petition to cancel should be withdrawn, refused, or denied.
                                                                                        26         63.    The harms to Pinkette from CWL’s actions complained of above apply
                                                                                        27   equally here.
                                                                                        28


                                                                                                                                       15
                                                                           Case 2:15-cv-04950-SJO-AJW Document 1 Filed 06/30/15 Page 16 of 18 Page ID #:16




                                                                                         1                             VIII. PRAYER FOR RELIEF
                                                                                         2
                                                                                         3         WHEREFORE, Pinkette prays that this Honorable Court issue a declaratory
                                                                                         4   judgment that:
                                                                                         5         1.    confirms Pinkette’s unfettered right to commercially use LUSH as its
                                                                                         6   trademark for clothing;
                                                                                         7         2.    CWL’s use of LUSH on retail store employee uniforms, sold only
                                                                                         8   internally to its own store employees, does not entitle CWL to exclusive rights in
                                                                                         9   LUSH as a trademark for clothing;
                                                            Facsimile: (310) 394-4477




                                                                                        10         3.    there is no trademark infringement, no false association, and no
                                                                                        11   likelihood of confusion between Pinkette’s use of LUSH on clothing and CWL’s
CISLO & THOMAS LLP

                                          Los Angeles, CA 90025-7103




                                                                                        12
                                            12100 Wilshire Boulevard




                                                                                             use of LUSH on its own store employee uniforms;
            Attorneys at Law




                                                                                        13         4.    there is no trademark infringement, no false association, and no
                                                  SUITE 1700




                                                                                        14   likelihood of confusion between Pinkette’s LUSH clothing and CWL’s use of
                                                                                        15   LUSH on CWL’s gift wrapping options used to wrap purchased cosmetics,
                        Telephone: (310) 451-0647




                                                                                        16   perfumes, and related goods;
                                                                                        17         5.    there is no trademark infringement, no false association, and no
                                                                                        18   likelihood of confusion between Pinkette’s LUSH clothing and CWL’s use of
                                                                                        19   LUSH on its cosmetics, perfumes, and related goods;
                                                                                        20         6.    CWL shall be barred under the doctrine of laches from asserting
                                                                                        21   against Pinkette any likelihood of confusion, no false association, and no trademark
                                                                                        22   infringement between any of CWL’s LUSH goods or services and Pinkette’s use of
                                                                                        23   LUSH as its trademark for clothing;
                                                                                        24         7.    CWL shall be enjoined from using the term LUSH as a trademark for
                                                                                        25   clothing or otherwise creating any likelihood of confusion, false association with,
                                                                                        26   or trademark infringement of Pinkette’s LUSH trademark for clothing;
                                                                                        27         8.    CWL’s U.S. Trademark Application Serial No. 86/475,096 is
                                                                                        28   improper, and that CWL must expressly withdraw the application;


                                                                                                                                     16
                                                                           Case 2:15-cv-04950-SJO-AJW Document 1 Filed 06/30/15 Page 17 of 18 Page ID #:17




                                                                                         1               9.           the USPTO shall deem this U.S. Trademark Application Serial No.
                                                                                         2   86/475,096 abandoned or otherwise terminated;
                                                                                         3               10.          CWL’s petition to cancel, initiating USPTO cancellation proceeding
                                                                                         4   No. 92061660, is improper, and that CWL must expressly stipulate to dismissal of
                                                                                         5   the cancellation proceeding;
                                                                                         6               11.          the USPTO shall dismiss this pending cancellation proceeding No.
                                                                                         7   92061660; and
                                                                                         8               12.          Pinkette is entitled to its attorneys’ fees and costs incurred in this
                                                                                         9   dispute; and to such other and further legal and equitable relief as the Court may
                                                            Facsimile: (310) 394-4477




                                                                                        10   deem appropriate.
                                                                                        11
CISLO & THOMAS LLP

                                          Los Angeles, CA 90025-7103




                                                                                        12
                                            12100 Wilshire Boulevard




                                                                                                                                                           Respectfully submitted,
            Attorneys at Law




                                                                                        13                                                                 CISLO & THOMAS LLP
                                                  SUITE 1700




                                                                                        14
                                                                                        15   Dated: June 30, 2015                                           /s/Kelly W. Cunningham
                        Telephone: (310) 451-0647




                                                                                                                                                           Kelly W. Cunningham, Esq.
                                                                                        16                                                                 Daniel M. Cislo, Esq.
                                                                                        17
                                                                                                                                                           Attorneys for Plaintiff
                                                                                        18                                                                 Pinkette Clothing, Inc.
                                                                                        19
                                                                                        20   T:\15-30422\Complaint for declaratory judgment re LUSH.docx



                                                                                        21
                                                                                        22
                                                                                        23
                                                                                        24
                                                                                        25
                                                                                        26
                                                                                        27
                                                                                        28


                                                                                                                                                           17
Case 2:15-cv-04950-SJO-AJW Document 1 Filed 06/30/15 Page 18 of 18 Page ID #:18




   1                                                     DEMAND FOR JURY TRIAL
   2
   3               Pursuant to Rule 38 of the Federal Rules of Civil Proceeding, Plaintiff
   4   Pinkette Clothing, Inc. hereby demands a trial by jury on all issues raised by the
   5   Complaint that are triable by jury.
   6
   7                                                                 Respectfully submitted,
   8                                                                 CISLO & THOMAS LLP
   9
  10   Dated: June 30, 2015                                           /s/Kelly W. Cunningham
  11                                                                 Kelly W. Cunningham, Esq.
                                                                     Daniel M. Cislo, Esq.
  12
  13                                                                 Attorneys for Plaintiff
                                                                     Pinkette Clothing, Inc.
  14
  15   T:\15-30422\Complaint for declaratory judgment re LUSH.docx


  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
